                      UNITED STATES DISTRICT COURT
                WESTERN DISTRICT OF NORTH CAROLINA
                           CHARLOTTE DIVISION
                        DOCKET NO. 3:13-cv-00283-MOC
                                [3:00cr137]
JOSEPH BERNARD TATE,                         )
                                             )
               Petitioner,                   )
                                             ) MEMORANDUM OF DECISION
                                             )       and ORDER
Vs.                                          )
                                             )
UNITED STATES OF AMERICA,                    )
                                             )
               Respondent.                   )


         THIS MATTER is before the court on petitioner’s Motion to Vacate, Set Aside, or

Correct Sentence by a Person in Federal Custody (#1). After conducting an initial review, the

court directed respondent to Answer or otherwise respond to the petition.            In the interim,

petitioner filed a pleading which the court treated as an amendment to such petition, even though

it appeared upon initial review that such proposed amendment did not provide a cognizable basis

for relief.

         Within the time allowed, respondent filed its Response (#15) in which it waived the

statute of limitations as to petitioner’s time-barred Simmons claim as to Count Four of the

petitioner’s conviction, but declined to waive either the statute of limitations or plea waiver as to

any other claims or counts. In accordance with Rules Governing Section 2255 Proceedings, the

court allowed petitioner time to file his Reply (#18), which petitioner timely filed, and which the

the court has fully considered.

                               FINDINGS and CONCLUSIONS

    I.        Background

         Petitioner was indicted on November 8, 2000, and charged with conspiracy to possess

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         Case 3:00-cr-00137-MOC         Document 366        Filed 01/30/14      Page 1 of 9
with intent to distribute both powder and crack cocaine, in violation of 21 U.S.C. §§ 846 and

841(a)(1) (Count One); two counts of using and carrying a firearm during and in relation to a

crime of violence resulting in murder, in violation of 18 U.S.C. § 924(c) and (j)(1) (Counts Two

and Three); and possession of a firearm by a convicted felon, in violation of 18 U.S.C. §§

922(g)(1) (Count Four).

       Ultimately, petitioner entered a plea of guilty to the drug-trafficking and felon-in-

possession offenses as well as to one of the § 924(j)(1) firearm offenses, all pursuant to a written

plea agreement filed under Federal Rule of Criminal Procedure 11(e)(1)(C) (2000).1 In return,

the government dismissed the other § 924(j)(1) charge. The plea agreement provided for a

sentence of 480 months and included a waiver of petitioner’s right to challenge his sentence in

any post-conviction proceeding.

       It is undisputed that the underlying North Carolina felony that served as the predicate to

his Section 922(g)(1) charge was a state offense as to which petitioner received an eight to 10

month sentence. PSR at 10.

       II.     Petitioner’s Contentions

       The court has considered petitioner’s original motion, his earlier pleading that was

deemed to be an amendment, and his reply in considering the contentions which petitioner has

raised. Petitioner contends:

       First Contention: Petitioner seeks to have the court vacate the conviction as to
       Count Four in light of United States v. Simmons, 649 F.3d 237 (4th Cir. 2011) (en
       banc) based on actual innocence.

       Second Contention: Petitioner seeks to have the Section 851 enhanced penalty
       removed based on an allegation of actual innocence of the enhancement.

       Third Contention: Petitioner seeks to have the cross-reference removed based on
       actual innocence based on USSG §2k2.1(c)(1), §3B1.3(a)(2), §3D1.1(d), and

1      Since the plea, such provision has been renumbered as Rule 11(c)(1)(C).

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      Case 3:00-cr-00137-MOC               Document 366            Filed 01/30/14   Page 2 of 9
       §1B1.3(a)(2), and §2D1.2(d).

       Fourth Contention: Petitioner seeks a sentence reduction under Alleyne v.
       United States, ___ U.S.___, 133 S. Ct. 2151 (2013), arguing that he was
       sentenced based on facts which increased a mandatory minimum sentences, which
       he did not admit.

II.    Discussion
       A.     Contention One: Simmons and Dismissal of Count Four


       In his first contention, the petitioner contends that his conviction on Count Four should

be vacated because he is actually innocent of the conviction. The respondent concurs in such

argument, waives the statute of limitations as to such claim, and asks the court to vacate that

count of conviction and the sentence thereupon imposed.

       In Simmons, the Court of Appeals for the Fourth Circuit revisited and reconsidered its

earlier holding that, in the context of applying an enhancement under the Armed Career Criminal

Act, a conviction was for “a crime punishable by imprisonment exceeding one year if any

defendant charged with that crime could receive a sentence of more than one year.” United

States v. Harp, 406 F.3d 242, 246 (4th Cir. 2005) (internal quotation and citation omitted). In

light of the intervening decision of the Supreme Court in Carachuri-Rosendo v. Holder, 130 S.

Ct. 2581 (2010), the appellate court in Simmons held that “‘the conviction itself’ must serve as

our ‘starting place.’” Simmons at 243. By examining the defendant’s state-court record, the

appellate court determined that it contained no findings exposing Simmons to the elevated state

sentence necessary to trigger enhancement under the ACCA. Id.

       In this case, it is undisputed that if petitioner timely filed his §2255 petition, which he did

not do, or if the government waived the time bar, which it has as to such claim, Simmons would

mandate that this court set aside his conviction on Count Four for possession of a firearm by a

convicted felon as petitioner was not previously convicted of a crime that exposed him to

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      Case 3:00-cr-00137-MOC            Document 366         Filed 01/30/14      Page 3 of 9
imprisonment exceeding one year. Finding Simmons applicable to Count Four and that the

government has waived the Statute of Limitations and conceded the relief sought, the court will

vacate petitioner’s conviction on Count Four as well as the sentence thereupon imposed as to that

count.

         B.     Contention Two: Section 851 Enhancement

         In this contention, petitioner seeks removal of the §851 enhancement of his sentence on

the remaining counts of conviction based on a contention that he is actually innocent of such

enhancement. Review of the supplemental Presentence Report (#295) submitted in 2009 in light

of Crack I review reveals that petitioner was sentenced based on a statutory penalty of 20 years

to life, which was based on the filing by the government of a notice pursuant to 21 U.S.C. § 851.

See Notice (#43). Review of such Notice reveals that such enhancement was based on a 1995

conviction in North Carolina for possession with intent to sell and deliver cocaine, which appears

to be the same offense which formed the basis of petitioner’s now set aside conviction under

Count Four.


         The court is keenly aware of a shift in prevailing thought about such contention. Initially,

the government and the courts generally took the position that such a claim was barred as not

stating a constitutional claim cognizable under §2255. It was thought that under United States

v.   Powell, ___ F.3d ___, No. 11-6152 (4th Cir.           Aug. 20, 2012), that a § 841(b)(1)(a)

enhancement was, despite a sentencing error under Simmons, a lawful sentence as such a

sentence was within the unenhanced statutory maximum. More recently, courts have looked to

Hicks v. Oklahoma, 447 U.S. 343, 346 (1980), wherein the Supreme Court held that depriving a

sentencing court of discretion under an erroneously applied statutory minimum violates the Due

Process Clause. Id. at 346 (recognizing a due process violation where an Oklahoma jury was


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         Case 3:00-cr-00137-MOC          Document 366        Filed 01/30/14      Page 4 of 9
erroneously instructed that it had to impose a mandatory prison term in accordance with a statute

that was declared unconstitutional). Further, in Townsend v. Burke, 334 U.S. 736 (1948), the

Supreme Court held that it violates a criminal defendant's right to Due Process where a defendant

is sentenced “on the basis of assumptions concerning his criminal record which were materially

untrue.” Id. at 741.


       Unlike the claim as to Count Four, the respondent has not waived the Statute of

Limitations bar as to this claim. Further, the respondent has invoked petitioner’s plea waiver of

any collateral attack as to such contention. While the court could have well dismissed this claim

initially as time barred, Day v. McDonough, 547 U.S. 198, 209 (2006) and Eriline Co. S.A. v.

Johnson, 440 F.3d 648, 655 (4th Cir. 2006), the court opted to not do so as it was aware that the

government had in some -- but not all -- cases waived its affirmative defense of the §2255(f)

Statute of Limitations bar.


       The court has reviewed the history of petitioner’s underlying criminal case and

determined that Contention Two is, as respondent contends, both time barred and that he waived

his right to assert such a claim in any post-conviction proceeding. Thus, this court is without

jurisdiction to consider such claim and it will be dismissed as both time barred and waived.


       C.      Contention Three: Cross-References


       The court initially dismissed this claim without prejudice; however, liberally reading his

amendment and Reply, it is conceivable that petitioner has restated or reasserted such claim. In

his third contention, petitioner requests that the “cross-reference be removed also because he is

innocent of that as well, [due] to the provisions of, USSG §2k2.1(c)(1), 3B1.3(a)(2), §3D1.1(d),

and §1B1.3(a)(2), and §2D1.2(d).”


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       Case 3:00-cr-00137-MOC          Document 366       Filed 01/30/14      Page 5 of 9
       Even if such were a cognizable claim under Section 2255, it appears that such claim is

barred. The respondent has not waived the bar of the Statute of Limitations or the plea waiver.

Thus, this court is without jurisdiction to consider such claim and it will be dismissed as both

time barred and waived.


       D.      Contention Four: Alleyne Relief


       Finally, petitioner seeks a sentence reduction under Alleyne v. United States, ___

U.S.___, 133 S. Ct. 2151 (2013), arguing that he was sentenced based on facts which increased a

mandatory minimum sentences, which he did not admit, and were not found by a jury. As the

court previously explained in its Order allowing the proposed amendment, the Alleyne Court

held that facts which increase mandatory minimum sentences must be either admitted by

defendant or submitted to the jury and established beyond a reasonable doubt. Id. at 2163. Unlike

this case, which is on collateral review (and where a plea waiver prohibits petitioner from raising

contention), the defendant in Alleyne raised his argument on direct review.             Generally,

sentencing factors under 18 U.S.C. § 3559(f) can be determined by the court applying a

preponderance of the evidence standard. United States v. O’Brien, 130 S. Ct. 2169, 2175 (2010).

At the time of sentencing of petitioner herein, sentencing factors were considered based on a

preponderance of the evidence standard as then allowed under Harris v. United States, 536 U.S.

545, 568 (2002), which held that increasing mandatory minimums based on judicial fact finding

does not violate the Sixth Amendment. Harris was later overruled in Alleyne, which held that an

enhancement for brandishing is an element of the offense because it increases the mandatory

minimum sentence. Alleyne, 133 S. Ct. at 2163. As an element of the offense, it must either be

proved at trial or admitted to by defendant as part of the plea process. Id.



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      Case 3:00-cr-00137-MOC            Document 366        Filed 01/30/14     Page 6 of 9
       Inasmuch as Alleyne specifically overruled Harris, the Court of Appeals for the Seventh

Circuit has found that Alleyne establishes a new rule of law. Simpson v. United States, 721 F.3d

875 (7th Cir. 2013). However, the Seventh Circuit went on to hold that Alleyne had not been

made retroactively applicable to cases on collateral review by the Supreme Court. Id. (citing

Dodd v. United States, 545 U.S. 353 (2005) (holding that the declaration of retroactivity must

come from the Supreme Court)). Without such retroactivity, this court is prohibitedin the first

instance from addressing such a claim for the first time inasmuch as

       [s]ection 2255 provides that a prisoner sentenced by a federal court may move to
       have that sentence vacated, set aside or corrected if he or she claims that the court,
       in sentencing him or her, violated the Constitution or the laws of the United
       States, improperly exercised jurisdiction, or sentenced him or her beyond the
       maximum time authorized by law.

Thai v. United States, 391 F.3d 491, 493 (2d Cir.2005). Generally, a new rule of law decided

after a defendant’s conviction becomes final cannot be applied to that defendant’s case on

collateral review. Teague v. Lane, 489 U.S. 288, 310 (1989) (holding that “[u]nless they fall

within an exception to the general rule, new constitutional rules of criminal procedure will not be

applicable to those cases which have become final before the new rules are announced.”). The

exceptions to the general rule of non-retroactivity are, as follows: (1) new rules that “place an

entire category of primary conduct beyond the reach of the criminal law, or new rules that

prohibit imposition of a certain type of punishment for a class of defendants because of their

status or offense”; or (2) “new watershed rules of criminal procedure that are necessary to the

fundamental fairness of the criminal proceeding.” Sawyer v. Smith, 497 U.S. 227, 241–42

(1990). As other courts have found:

       Alleyne does not fall within either exception. Alleyne did not place any individual
       conduct beyond the Government's power to punish, nor did it prohibit the
       imposition of any type of punishment. Nor does the rule in Alleyne qualify as a



                                                 7

      Case 3:00-cr-00137-MOC           Document 366         Filed 01/30/14      Page 7 of 9
       watershed rule of criminal procedure. Furthermore, as explained by the Seventh
       Circuit:
               Alleyne is an extension of Apprendi v. New Jersey, 530 U .S. 466
               (2000). The Justices have decided that other rules based on
               Apprendi do not apply retroactively on collateral review. See
               Schriro v. Summerlin, 542 U.S. 348 (2004). This implies that the
               Court will not declare Alleyne to be retroactive. See also Curtis v.
               United States, 294 F.3d 841 (7th Cir.2002) ( Apprendi itself is not
               retroactive).FN91

Echeverry v. United States, 2013 WL 5548801, *10 (S.D.N.Y. Oct. 8, 2013) (quoting Simpson

v. United States, supra, at 876 (7th Cir.2013)). See also In re Payne, No. 13–5103, 2013 WL

5200425 at *1–2 (10th Cir. Sept.17, 2013) (holding that Alleyne is not retroactive); United States

v. Little, No. 6:11–169, 2013 WL 5719080, at *2 (D.S.C. Oct.21, 2013) (noting that “Alleyne has

not been held to be retroactive to cases on collateral review”); Liner v. United States, 2014 WL

266331, *1 (E.D.Va. Jan. 22, 2014) (“Alleyne is not retroactive and precludes Petitioner from

seeking redress under 28 U.S.C. § 2255 because his conviction was final before the Supreme

Court's decision”).

       Putting aside the inapplicability of Alleyne to petitioner’s collateral claim, petitioner’s

claim is simply not justiciable by this court as the claim is barred by the Statute of Limitations as

well as the plea waiver, neither of which the respondent has waived. Thus, this court is without

jurisdiction to consider such claim and it will be dismissed as both time barred and waived.


                                           ORDER

       IT IS, THEREFORE, ORDERED that as to Contention One, petitioner’s Motion to

Vacate, Set Aside, or Correct Sentence by a Person in Federal Custody (#1), as amended, is

GRANTED, but as to all other contentions, petitioner’s Motion to Vacate, Set Aside, or Correct

Sentence by a Person in Federal Custody (#1), as amended is DENIED.




                                                 8

       Case 3:00-cr-00137-MOC           Document 366        Filed 01/30/14      Page 8 of 9
       IT IS FURTHER ORDERED that the conviction as to Count Four is VACATED and

the sentence thereupon imposed as to such count is SET ASIDE, with all other counts of

conviction and sentence(s) thereupon imposed remaining undisturbed.

       This action is, otherwise, DISMISSED.



       The Clerk of Court shall prepare a proposed Amended Judgment and submit such to

chambers for review.



                         DENIAL OF A CERTIFICATE OF APPEALABILITY

       Pursuant to Rule 11(a) of the Rules Governing Section 2255 Cases, this court declines to

issue a certificate of appealability as petitioner has not made a substantial showing of a denial of

a constitutional right. 28 U.S.C. § 2253(c)(2); Miller -El v. Cockrell, 537 U.S. 322, 336-38

(2003) (in order to satisfy § 2253(c), a petitioner must demonstrate that reasonable jurists would

find the district court's assessment of the constitutional claims debatable or wrong); Slack v.

McDaniel, 529 U.S. 473, 484–85 (2000) (in order to satisfy § 2253(c) when court denies relief

on procedural grounds, a petitioner must demonstrate both that the dispositive procedural ruling

is debatable, and that the petition states a debatable claim of the denial of a constitutional right).

In this case, the procedural ruling concerning the time bar and plea waiver are not debatable.



         Signed: January 30, 2014




                                                  9

       Case 3:00-cr-00137-MOC           Document 366         Filed 01/30/14      Page 9 of 9
